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                                                                                                 E-FILED
                                                                       Friday, 14 June, 2019 03:45:59 PM
                                                                            Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                PEORIA DIVISION


UNITED STATES OF AMERICA,
     Plaintiff,

v                                                 Case Number: 19-MJ-06071

TARYN LEE & DANIEL HUDDLESTON,
    Defendant.


                                 ORDER OF DETENTION

The Defendant appeared before this Court for a detention hearing on Friday, June 14, 2019.
The Government moved for detention of the Defendant pursuant to 18 U.S.C. § 3142(f)(1) &
(f)(2).

Defendant, through counsel, indicated to the Court that the Defendant waived the right to a
detention hearing. Accordingly, pursuant to that waiver, this Court orders that the Defendant
be DETAINED.

Pursuant to 18 U.S.C. § 3142, the Defendant “shall be detained” for the duration of the
continuance. Accordingly, the Defendant shall be held in the custody of the United States
Marshal until a detention hearing, if any, is held.

Pursuant to 18 U.S.C. § 3142(h)(i), the Court directs that the Defendant be committed to the
custody of the Attorney General for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal; directs that the Defendant be afforded a reasonable opportunity for private
consultation with counsel; and, on order of a court of the United States or on a request of an
attorney for the Government, the person in charge of the corrections facility in which the
Defendant is confined deliver the Defendant to a United States marshal for the purpose of an
appearance in connection with a court proceeding.

The Defendant is remanded into the custody of the United States Marshal.

                                  Entered on June 14, 2019

                                  s/Jonathan E. Hawley
                                U.S. MAGISTRATE JUDGE



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